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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 ELECTRONIC PRIVACY INFORMATION         )
 CENTER,                                )              Case No. 1:18-cv-00902-TJK
                                        )
          Plaintiff,                    )
                                        )
          v.                            )
                                        )
 INTERNAL REVENUE SERVICE,              )
                                        )
          Defendant.                    )
 _______________________________________)

       The United States of America hereby moves for a stay of all deadlines in the above-

captioned case.


       1.      At midnight on December 21, 2018, the continuing resolution that had been

funding the Department of Justice expired and appropriations to the Department lapsed. The

same is true for most Executive agencies, including the Internal Revenue Service and the

Department of the Treasury. The Department does not know when funding will be restored by

Congress.

       2.      Absent an appropriation or continuing resolution, Department of Justice attorneys

and employees of the Internal Revenue Service and Department of the Treasury are prohibited

from working, even on a voluntary basis, except in very limited circumstances, including

“emergencies involving the safety of human life or the protection of property.” 31 U.S.C.

§ 1342.

       3.      Undersigned counsel for the Department of Justice therefore requests a stay of all

deadlines in this case until Congress has restored appropriations to the Department.
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       4.      If this motion for a stay is granted, undersigned counsel will notify the Court as

soon as Congress has appropriated funds for the Department or enacted another continuing

resolution. The Government requests that, at that point, all current deadlines for the parties be

extended commensurate with the duration of the lapse in appropriations.

       Therefore, although we greatly regret any disruption caused to the Court and the other

litigants, the Government hereby moves for a stay of all deadlines in in this case until

Department of Justice attorneys are permitted to resume their usual civil litigation functions.



                                                      RICHARD A. ZUCKERMAN
                                                      Principal Deputy Assistant Attorney General


                                                      /s/ Megan E. Hoffman-Logsdon
                                                      MEGAN E. HOFFMAN-LOGSDON
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                                 CERTIFICATE OF SERVICE

I hereby certify that on this 26th day of December 2018, I electronically filed the foregoing
document with the Clerk of Court using the CM/ECF system, which will send notification of
such filing to all parties registered to receive such notice.


                                             /s/ Megan E. Hoffman-Logsdon
                                             MEGAN E. HOFFMAN-LOGSDON
                                             Trial Attorney
                                             United States Department of Justice, Tax Division




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